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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

                                             )
                                             )
 IN RE: NATIONAL PRESCRIPTION
                                             )
        OPIATE LITIGATION
                                             )
                                             )
        This document relates to:
                                             )
The County of Summit, Ohio, et al. v. Purdue
                                             )
            Pharma L.P., et al.                       MDL No. 2804
                                             )
          Case No. 18-op-45090
                                             )
                                                 Hon. Judge Dan A. Polster
                                             )
                   and
                                             )
                                             )
The County of Cuyahoga v. Purdue Pharma
                                             )
                L.P., et al.
                                             )
         Case No. 1:18-op-45004
                                             )
                                             )




                     MEMORANDUM IN SUPPORT OF
                  DISTRIBUTOR-DEFENDANTS’ MOTION
          FOR SUMMARY JUDGMENT ON CIVIL CONSPIRACY CLAIM
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                                            INTRODUCTION
          The thrust of Plaintiffs’ Complaints—now fully embraced by Plaintiffs’ liability

experts—is that Manufacturers of opioids engaged in a “massive false marketing campaign to

drastically expand the market” for opioid medications.1 That campaign, Plaintiffs allege, tainted

virtually every source doctors could rely on for information. It changed the treatment guidelines

relied on by doctors, including guidelines issued by numerous professional associations and the

Federation of State Medical Boards. The DEA endorsed the Federation’s guidelines—guidelines

that advised that “opioids were ‘essential’ for treatment of chronic pain, including as a first

prescription option”2—as “consistent” with the DEA’s own position on pain treatment. In

recognition of this position, the DEA increased the production quotas for prescription opioids 39-

fold between 1995 and 2015.

          As a result, according to Plaintiffs’ experts, doctors prescribed more opioids; pharmacy-

benefit managers approved the drugs for their formularies; pharmacies dispensed more opioids;

and both private and public insurers paid for the increased volume. All this was possible,

Plaintiffs further allege, because Manufacturers concealed their marketing scheme from the

public by, among other things, “secretly control[ling] messaging.”3

          Plaintiffs seek to impose liability on Distributors for Manufacturers’ alleged marketing

misconduct based on civil conspiracy. Distributors are middlemen, however, and they played no

role in establishing the standard of care for prescribing opioids. The discovery record now

establishes that there is a total failure of evidence regarding Distributors’ supposed involvement

in the alleged marketing conspiracy. There is no evidence that Distributors agreed to, or did,

participate in Manufacturers’ alleged false-marketing scheme. Nor is there any evidence that

1
      Cuyahoga TAC ¶¶ 1, 821; Summit TAC ¶¶ 1, 775. “Manufacturers” refers to the named defendant
      pharmaceutical manufacturers, also referred to by Plaintiffs as the “Marketing Defendants.”
2
      Cuyahoga TAC ¶ 362; Summit TAC ¶ 374.
3
      Cuyahoga TAC ¶ 818; Summit TAC ¶ 772.



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Distributors agreed, or tried, to influence DEA’s decisions to increase opioid production quotas,

or agreed with one another not to report suspicious opioid orders. The complete lack of evidence

that Distributors agreed with one another (or anyone else) to achieve an unlawful objective is

fatal to the civil conspiracy claim.

          Therefore, regardless of whether Plaintiffs have raised triable issues of fact as to

Distributors’ liability for their own conduct on other claims, the Court should grant summary

judgment as to Distributors on the civil conspiracy claim (Cuyahoga Count 11 and Summit

Count 11).
                                 THE RELEVANT UNDISPUTED FACTS
          The moving parties4 are wholesale distributors of pharmaceutical products who do not

develop, test, or prescribe any drugs, including opioids. They purchase pharmaceutical products

from manufacturers and fill wholesale orders submitted by their state-licensed customers,

typically pharmacies.5 Those customers, in turn, dispense drugs to patients, pursuant to medical

providers’ prescriptions that Distributors never see, and which, according to Plaintiffs’ experts,

were overwhelmingly written pursuant to the then-prevailing standard of care.6

          By federal statute, the United States Attorney General is authorized to determine what

amount of controlled substances (including opioids) may be manufactured each year. 21 U.S.C.

§ 826. The Attorney General has delegated that authority to the Drug Enforcement

Administration (“DEA”), which must set the annual production quota based on the legitimate

4
      Cardinal Health, Inc., McKesson Corp., AmerisourceBergen Drug Corp., Anda, Inc., H.D. Smith, H.D. Smith,
      LLC f/k/a H.D. Smith Wholesale Drug Company, H.D. Smith Holdings, LLC, H.D. Smith Holding Company,
      Prescription Supply Inc., Henry Schein, Inc., and Henry Schein Medical Systems, Inc.
5
      See Ex. I.12 (Norris Tr.) at 42:18–43:4; Ex. I.4 (Cavacini Tr.) at 267:11–15; Ex. I.21 (Zimmerman Tr. (Aug. 3,
      2018)) at 42:8-43:4, 43:21-451.
6
      See Ex. III.3 (Lembke Rep.) at 12 (“[O]pioid overprescribing is not the result of a small subset of so-called ‘pill
      mill’ doctors, … but rather has been driven by a wholesale shift in medical practice.”); see also Ex. III.2 (Keyes
      Rep.) at 18 (“‘Pill Mills’ do not explain in any significant way the expansion of opioid prescribing and opioid-
      related harm in the US.”)]; Ex. III.4 (Parran Rep.) ¶ 296 (“[W]hile significant, the pill mills were not
      responsible for the wide scale exposure of the population to the drugs. The epidemic we see today did not arise
      just out of pill mills or ‘bad doctors.’”)].



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medical need for the particular drug. 21 CFR § 1303.11(a). From 1993 to 2015, DEA

authorized a 39-fold increase of the manufacturing quotas for oxycodone, with quotas for other

prescription opioids also seeing large increases.7 The record evidence confirms that Distributors

play no role in setting, advocating for, or increasing quotas.8

          Under federal law, Distributors are required to design and operate a system to detect

suspicious orders of controlled substances, including opioids, and to report those orders to the

relevant DEA field office when detected. 21 CFR § 1301.74(b). Each Distributor had (and has)

such a system.9 There is no record evidence that Distributors entered into any agreement—either

among themselves or with Manufacturers—not to report suspicious orders. To the contrary, the

record reflects that Distributors reported thousands of suspicious orders during the period

relevant to this case.10 Similarly, Distributors declined to do business with, or have terminated

business relationships with, hundreds of pharmacies whose conduct with respect to controlled

substances raised concern.11 And while Distributors reported suspicious orders they received,

there is no evidence that any of them had any ability to see—let alone monitor and report—

suspicious orders that were placed with other Distributors. But even if individual Distributors

may be faulted for not reporting suspicious orders in some instances, there is no evidence that

there was an agreement not to report.



7
      See Ex. II.3 (CAH_MDL2804_00084164—Letter from Senators Richard Durbin, et al. to Chuck Rosenberg,
      Acting Adm’r, DEA (July 11, 2017)); Ex. II.7 (PAR_OPIOID_MDL_0000386240—Drug Enforcement
      Agency, Aggregate Production Quota History for Selected Substances 2003–2013 (Oct. 2, 2012)).
8
      See, e.g., Ex. I.9 (Harper-Avila Tr.) at 111:12–18; 112:9–12; 112:21–113:1.
9
      See e.g. Ex. I.12 (Norris Tr.) at 66:7-13, 244:21–245:1; Ex. I.19 (Walker Tr.) at 361:16–21; 381:2–7; Ex. I.21
      (Zimmerman Tr. (Aug. 3, 2018)) at 111:12-112:17, 258:20-259:21; Ex. I.6 (Patrick Cochrane Tr.) at 19:5-21:2;
      Ex. I.5 (Michael Cochrane Tr.) at 287:20-288:20.
10
      See Ex. I.15 (Quintero Tr.) at 124:14-18; Ex. I.2 (Boggs Tr. (Jan. 17, 2019)) at 362:6–11; see also ECF.#412
      and accompanying data (transmission of DEA’s suspicious order reports for six states to the Court).
11
      See Ex. I.15 (Quintero Tr.) at 126:17-127:5, 223:6-17; Ex. I.2 (Boggs Tr. (Jan. 17, 2019)) at 380:3–12; Ex. II.1
      (ABDCMDL00337006 (“Do Not Ship” list)); Ex. I.3 (Robert Brown Tr.) at 221:5-17, 223:3-226:16; Ex. II.2
      (Anda Opioids_MDL_0000543135-36); Ex. I.8 (George Euson Tr.) at 170:14-171:5.



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         There also is no evidence that Distributors were involved in Manufacturers’ alleged

marketing scheme—no evidence that Distributors played any role in conceiving the scheme,

were ever invited to join it, or had any role in implementing or concealing it. There is no

evidence that Distributors knew, or had a basis to know, whether the misrepresentations

allegedly made by Manufacturers (and persons allegedly acting secretly on their behalf) about

the risks and benefits of opioids were, as Plaintiffs allege, without a scientific basis and false or

misleading. While Distributors at times offered pharmaceutical manufacturers certain

opportunities to include information about their products in communications to pharmacies and

other parties, there is no record evidence that Distributors created the contents of these

communications. And of primary significance, there is no evidence that any of these

communications contained the misrepresentations regarding the risks and benefits of opioids

about which Plaintiffs complain. Rather, as Plaintiffs’ marketing expert conceded, the

communications typically provided information only about price, availability, and other matters

of primary interest to pharmacies and other buyers.12
                                                  ARGUMENT
         The Complaints allege that Distributors conspired with Manufacturers to (1) increase

DEA production quotas and, more generally, to lobby the government to weaken regulations, and

(2) further Manufacturers’ deceptive marketing scheme.13 The Complaints also allege that

Distributors conspired with one another not to report suspicious orders.14 No record evidence

supports these allegations. Part I addresses the law of civil conspiracy, and Parts II, III, and IV

address the absence of evidence to support any of Plaintiffs’ conspiracy theories and allegations.




12
     See Ex. I.13 (Perri Tr.) at 218:17-219:6 (the “vast majority” of ads hosted by Distributors concerned
     “information about … price and product availability” only).
13
     Cuyahoga TAC ¶¶ 532–533; Summit TAC ¶¶ 549–550.
14
     Cuyahoga TAC ¶¶ 534–536; Summit TAC ¶ 551–553.



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I.     THE LAW OF CIVIL CONSPIRACY REQUIRES PROOF, INTER ALIA, OF AN
       AGREEMENT AND AN ILLEGAL OBJECTIVE
       The elements of a civil conspiracy claim under Ohio law are: “(1) a malicious

combination, (2) involving two or more persons, (3) causing injury to person or property, and

(4) the existence of an unlawful act independent from the conspiracy itself.” Cianfaglione v.

Lake Nat’l Bank, __ N.E.3d __, 2019 WL 1517667, *4 (Ohio Ct. App. Apr. 8, 2019) (internal

quotation marks omitted); see also Hale v. Enerco Grp., Inc., 2011 WL 49545, at *5 (N.D. Ohio

Jan. 5, 2011) (Polster, J.) (citing Universal Coach, Inc. v. New York City Transit Auth., Inc.,

90 Ohio App.3d 284, 629 N.E.2d 28, 33 (Ohio Ct. App. 1993)). Malice is defined as “that state

of mind under which a person does a wrongful act purposely, without a reasonable or lawful

excuse, to the injury of another.” Williams v. Aetna Fin. Co., 700 N.E.2d 859, 868 (Ohio 1998)

(internal quotation marks omitted); see also Berridge v. McNamee, 66 N.E.3d 1266, 1279 (Ohio

Ct. App. 2016) (same). Essential to a civil conspiracy claim is proof of “an agreement or

understanding” among the alleged conspirators. FV 1 Inc. v. Goodspeed, 974 N.E.2d 664, 677

(Ohio Ct. App. 2012).

       Ohio courts have scrupulously enforced the requirement that the plaintiff prove an

agreement to achieve an unlawful objective. This is so even if the alleged agreement is a “tacit”

one. See, e.g., Woodward Const., Inc. v. For 1031 Summit Woods, LLC, 30 N.E.3d 237, 243

(Ohio Ct. App. 2015) (a plaintiff seeking to prove a civil conspiracy “must at least show a

common understanding or design, even if tacit, to commit an unlawful act.” (internal quotation

marks omitted)). Demonstrating that no conspiracy liability can be imposed without proof of an

agreement, courts applying Ohio law emphasize the “qualitative difference” between conspiracy

and aiding and abetting and, thus, have declined to impose liability for conspiracy even when

there is evidence the defendant knew of and facilitated the principal wrongdoer’s conduct. See

Aetna Cas. & Sur. Co. v. Leahey Constr. Co., Inc., 219 F.3d 519, 538–39 (6th Cir. 2000)




                                                 5
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(reversing civil conspiracy judgment; “the degree of involvement required for civil conspiracy is

higher than for civil aiding and abetting,” because “conspiracy focuses on whether the defendant

agreed to join in the wrongful conduct” (internal quotation marks omitted)). Where the evidence

is “as consistent with independent conduct as it [is] with a conspiracy,” a claim fails. Hensley v.

Gassman, 693 F.3d 681, 695 (6th Cir. 2012) (affirming the grant of summary judgment for

defendant on § 1983 conspiracy); see also Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S.

752, 768 (1984) (to prove an agreement, the evidence must “tend[] to exclude the possibility of

independent action”).15

          Consistent with these principles of substantive Ohio law, the Sixth Circuit demands

evidence supporting conspiracy allegations to withstand summary judgment. Robertson v.

Lucas, 753 F.3d 606, 622 (6th Cir. 2014) (affirming summary judgment for defendant because

plaintiffs “failed to produce any specific evidence that the defendants shared a single plan and a

common objective”);16 Bergin Fin. Inc. v. First Am. Title Co., 397 F. App’x 119, 127 (6th Cir.

2010) (affirming summary judgment for defendant because, even though circumstantial evidence

may be used to establish the agreement at issue, “none of the evidence even inferentially

supports [defendant’s] involvement in a civil conspiracy”).
II.       PLAINTIFFS’ CLAIMS THAT DISTRIBUTORS CONSPIRED TO LOBBY THE
          GOVERNMENT FAIL AS A MATTER OF LAW.
          Plaintiffs allege that Distributors conspired with Manufacturers to “increase[e] the

[opioid production] quotas set by the DEA,”17 and “through their lobbying efforts … collectively



15
      At the motion to dismiss stage, this Court suggested that a “general conspiratorial objective of expanding the
      opioid market” could support a conspiracy claim (ECF #1203, at 22). There is no record evidence that
      Distributors conspired with Manufacturers to “expand[] the opioid market.” In any case, expanding the market
      for a legal product is not an unlawful objective. Similarly, “t[aking] advantage of the industry structure,” ECF
      #1203 at 22, does not show any agreement to achieve an unlawful objective.
16
      Unless otherwise noted, all emphases are added.
17
      Cuyahoga TAC ¶ 898.



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sought to undermine the impact of the [Controlled Substances Act].”18 In other words, Plaintiffs

(county governments) seek to impose civil liability on Distributors for allegedly engaging in

protected political advocacy because they disagree with the policies that Distributors allegedly

advocated. That claim fails at the threshold as a matter of law. The law is clear that lobbying the

government is constitutionally protected activity under the First Amendment and cannot form the

basis of a civil conspiracy claim. As to the allegation that Distributors conspired to influence

DEA production quotas, the claim fails for the additional reason that there is no evidence that

Distributors engaged in such conduct.
         A.       The First Amendment Bars the Claims.
         Lobbying and other efforts to influence government action are protected by the First

Amendment. The Noerr–Pennington doctrine—which derives from United Mine Workers of

America v. Pennington, 381 U.S. 657 (1965), and Eastern Railroad Presidents Conference v.

Noerr Motor Freight, Inc., 365 U.S. 127 (1961)—protects persons from liability for their speech

and conduct in exercising their First Amendment right to petition the government. See Opdyke

Inv. Co. v. City of Detroit, 883 F.2d 1265, 1273 (6th Cir. 1989). “Although the Noerr-

Pennington doctrine was initially recognized in the antitrust field, the federal courts have by

analogy applied it to claims brought under both state and federal laws, including common law

claims … .” Campbell v. PMI Food Equip. Grp., Inc., 509 F.3d 776, 790 (6th Cir. 2007).19


18
     Id. ¶ 897. See also Summit TAC ¶¶ 549-50 (alleging that Distributors worked together through the HDA to
     “influence state and federal governments to pass legislation that supported the use of opioids and limited the
     authority of law enforcement to rein in illicit or inappropriate prescribing and distribution” and “to ensure that
     the Aggregate Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained
     artificially high”).
19
     The doctrine applies regardless of a defendant’s alleged motive. See, e.g., Noerr, 365 U.S. at 139 (“The right of
     the people to inform their representatives in government of their desires with respect to the passage or
     enforcement of laws cannot properly be made to depend upon their intent in doing so.”); Lampley v.
     Bridgestone Firestone, Inc., 1992 WL 12666661, at *2 (M.D. Ala. Mar. 31, 1992) (“All persons, regardless of
     motive, are guaranteed by the First Amendment the right to seek to influence the government or its officials to
     adopt a new policy, and they cannot be required to compensate another for loss occasioned by a change in
     policy should they succeed.” (internal quotation marks omitted)).



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       Where, as here, a defendant’s conduct is protected by the First Amendment, a claim for

civil conspiracy based on that conduct likewise “must … fail.” Cinn. Arts Ass’n v. Jones, 777

N.E.2d 346, 356 (Ohio Ct. Common Pleas 2002). Indeed, the United States Supreme Court’s

First Amendment precedent mandates this result. See Snyder v. Phelps, 562 U.S. 443, 460

(2011) (holding that where allegedly tortious conduct is protected by the First Amendment, a

plaintiff “cannot recover for civil conspiracy based on those torts”).

       Under these settled principles, Plaintiffs’ conspiracy claim based on petitioning activity

cannot stand. To begin with, Noerr-Pennington clearly applies to the conduct Plaintiffs allege.

To the extent the claim is based on efforts to persuade legislators “to pass legislation” and

“limit[] the authority of law enforcement,” see Summit TAC ¶ 549, it runs afoul of Noerr itself.

In that case, the Supreme Court ruled that a publicity campaign designed to “foster the adoption

and retention of laws and law enforcement practices” favorable to the defendants, 365 U.S. at

129, could not give rise to liability. The Court held that First Amendment immunity protects

“attempts to influence the passage or enforcement of laws,” and it is “equally clear” that it “does

not prohibit two or more persons from associating together in an attempt to persuade the

legislature or executive to take particular action.” Id. at 135-36.

       Similarly, communications intended to influence DEA in setting quotas (had Distributors

made such communications, which they did not) would be protected by the Noerr-Pennington

doctrine. The Supreme Court made clear in California Motor Transport Co. v. Trucking

Unlimited, that the doctrine also applies to efforts to influence federal and state administrative

agencies. 404 U.S. 508, 510–11 (1972). DEA regulations provide that “[t]he Administrator

shall determine the total quantity of each basic class of [Schedule I or II] controlled substance …

necessary to be manufactured during the following calendar year.” 21 CFR § 1303.11(a). The

DEA publishes proposed quotas in the Federal Register, and “any interested person” is permitted




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to comment on them. Id. 1303.11(c). Thus, if (as Plaintiffs allege) Distributors communicated

with DEA about these regulatory functions, that conduct cannot form the basis for liability. 20

         In short, under settled First Amendment precedent, the Court should reject Plaintiffs’

attempt to impose liability on Distributors for allegedly engaging in protected political advocacy.

Many courts have dismissed claims like those Plaintiffs assert here. See, e.g., Tuosto v. Phillip

Morris USA, 2007 WL 2398507, at *5-6 (S.D.N.Y. Aug. 21, 2007) (dismissing fraud claim

against cigarette manufacturer in part because the claim was based on allegedly false statements

to Congress about the risks of smoking); Hamilton v. Accu-tek, 935 F. Supp. 1307, 1321

(E.D.N.Y. 1996) (concluding that lobbying federal officials to prevent handgun regulations

cannot form basis of a tort claim in action against handgun manufacturers).21
         B.       Plaintiffs’ Conspiracy Claims Based on Alleged Efforts To Influence Quotas
                  Fail for Lack of Evidence.
         Plaintiffs have no evidence of a conspiracy to influence the DEA’s quota-setting

function. Despite months of discovery, no witness—fact or expert—has described any action

taken by any Distributor to influence quotas. Plaintiffs hardly bothered even to inquire about

quotas in the depositions of Distributors. And, when they did, the witnesses denied any

involvement by Distributors.22 The DEA’s 30(b)(6) representative testified:


20
     Plaintiffs also suggest that statements in an amicus brief the HDMA filed in Masters, see Summit Compl. ¶ 600,
     are actionable, but that claim, too, is legally barred because it was subject to an absolute privilege. See Lisboa
     v. Lisboa, 2011 WL 319956, at *4-5 (Ohio Ct. App. Jan. 27, 2011) (affirming dismissal of claim based on
     allegedly false statements in amicus brief).
21
     See also, e.g., McAlonan v. Tracy, 2011 WL 6125, at *13 (N.J. App. Div. Mar. 16, 2010) (holding that car
     manufacturer’s objections to proposed NHTSA crash-test regulations were “exempt from liability under the
     Noerr-Pennington doctrine”); Senart v. Mobay Chem. Corp., 597 F. Supp. 502, 506 (D. Minn. 1984)
     (dismissing claim that was premised on defendant chemical manufacturers’ efforts to persuade OSHA to reject
     proposal for more stringent exposure standards); Lampley v. Bridgestone Firestone, Inc., 1992 WL 12666661,
     at *1-2 (M.D. Ala. Mar. 31, 1992) (dismissing civil conspiracy claim based on tire companies’ alleged
     conspiracy “to force passage of OSHA regulations” favorable to them); Cipollone v. Liggett Group, 668 F.
     Supp. 408, 410 (D.N.J. 1987) (“furnishing false and misleading information to Congress” about product
     “entitled to protection as political speech” under Noerr-Pennington).
22
     See, e.g., Ex. I.1 (Boggs Tr. (July 19, 2018)) at 97:16-98:21; Ex. I.22 (Zimmerman Tr. (Feb. 9, 2019)) at
     92:4¬6.



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           Q.       Now, do wholesale[rs] such as McKesson, Cardinal and
                    AmerisourceBergen provide any information to DEA that is used to set
                    those quotas?
                    …
           A.       Quotas are not related to distributors, so no.23
The public records confirms her testimony. There is a notice-and-comment period before DEA

establishes the annual quota, and the Federal Register does not reflect that any Distributor ever

commented in favor of increasing opioid quotas.
III.       THERE IS NO EVIDENCE THAT DISTRIBUTORS CONSPIRED TO
           FRAUDULENTLY MARKET OPIOIDS.
           The Complaints allege that opioid Manufacturers engaged in a fraudulent marketing

scheme to “[c]hange [p]rescriber [h]abits and [p]ublic [p]erception and [i]ncrease [d]emand for

[o]pioids” by misrepresenting the clinical risks and benefits of opioids.24 The Complaints more

specifically allege that the marketing scheme propagated nine falsehoods about the risks and

benefits.25 Plaintiffs’ experts may count or categorize the alleged falsehoods differently, but

whatever the number and however they are categorized, there is not a shred of evidence that any

Distributor knowingly entered into a conspiracy to propagate those alleged falsehoods.

           As a threshold matter, Plaintiffs have no evidence that Distributors made claims about the

risks and benefits of opioid medications. Not surprisingly, therefore, they have not identified—

and cannot identify—a single statement made by a Distributor containing any of the nine

falsehoods alleged in the Complaints. Nor is there any evidence that any Distributor knew that

the nine alleged statements made by Manufacturers were “false.” To the contrary, Plaintiffs

23
       See Ex. I.9 (Harper-Avilla Tr.) at 111:12-18; 112:9-12; 112:21-113:1.
24
       Summit TAC at p. 48; Cuyahoga TAC at p. 46.
25
       The alleged falsehoods are: (1) “[t]he risk of addiction from chronic opioid therapy is low”; (2) “[t]o the extent
       there is a risk of addiction, it can be easily identified and managed”; (3) “[s]igns of addictive behavior are
       ‘pseudoaddiction,’ requiring more opioids”; (4) “[o]pioid withdrawal can be avoided by tapering”; (5) “[o]pioid
       doses can be increased without limit of greater risks”; (6) “[l]ong-term opioid use improves functioning”; (7)
       “[a]lternative forms of pain relief pose greater risks than opioids”; (8) “OxyContin provides twelve hours of
       pain relief”; and (9) “[n]ew formulations of certain opioids successfully deter abuse.” See Summit TAC at pp.
       48-102; Cuyahoga TAC at pp. 46–101.



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allege that Manufacturers fooled the entire medical establishment—including the Federation of

State Medical Boards, of which the Ohio Medical Board is a member, and DEA, which endorsed

the Federation’s guidelines for prescribing opioids—into changing the applicable standard of

care.26 Indeed, one of Plaintiffs’ own expert, Dr. David Egilman, opines that Manufacturers

“grossly misled distributors” about the risks of addiction.27

         None of Plaintiffs’ experts cites evidence that Distributors agreed to disseminate, or did

disseminate, any of the nine alleged falsehoods.28 Dr. Egilman and Dr. Matthew Perri identify

instances in which certain Distributors provided so-called “marketing” services to

manufacturers,29 but the documents they cite show only that those Distributors offered

Manufacturers an opportunity to include messages drafted by Manufacturers in various

communications, not that any Distributor made promotional statements of its own about the

benefits or risks of any drug.30 In this way, Distributors are no different than television

networks, radio stations, and magazines that carry pharmaceutical advertisements—parties that




26
     See, e.g., Cuyahoga TAC ¶ 362; Summit TAC ¶ 374; Ex. IV.1 (DEA Industry Communicator OxyContin
     Special (2001), available at https://web.archive.org/web/20011205021713/http://www.deadiversion.usdoj.
     gov/pubs/nwslttr/spec2001/page10.htm).
27
     Ex. III.1 (Egilman Rep.) B.96. In his scattershot report, which purports to set forth 489 separate opinions, Dr.
     Egilman also has opined that Distributors joined in a vaguely defined “Venture,” but there is no evidence that
     any Distributor joined any “Venture” that had an illegal purpose.
28
     See Ex. I.10 (Kessler Tr.) at 94:20–21 (“I have no opinions on distributors”); Ex. I.17 (Schumacher Tr.) at
     186:5–24 (same); Ex. I.11 (Lembke Tr.) at 274:12–20, 275:7–13 (same); Ex. I.16 (Rosenthal Tr.) at 750:2–6
     (same).
29
     See Ex. III.5 (Perri Rep.) ¶ 185; Ex. III.1 (Egilman Rep.) B.66, B.85-86, B.109, B.111, B.129, B.135, B.163,
     B.299, B.430-31, B.482.
30
     In the limited instances where Distributors offered opportunities for pharmaceutical manufacturers to include
     information about their products in communications to pharmacies, that information was drafted by
     manufacturers, who typically warranted that it complied with all laws. See, e.g., Ex. I.18 (Seid Tr.) at 191:17-
     20 (Purdue witness testifying that “[Distributors] couldn’t change a comma on what was being sent out.”); Ex.
     II.5 (MCKMDL00353305) (“The content of the graphical ad is the sole responsibility of Purdue Pharma …
     [which] represents and warrants that the graphical ad complies with all applicable laws”)); Ex. I.20 (C. Weber
     Tr. at 58:5-59:7, 61:3-12 (“The material is authored by the supplier, not by AmerisourceBergen.”)); Ex. II.4
     (CAH_MDL2804_02958682–83 (“AbbVie shall be fully responsible for the form and content of such e-mail
     communication as set forth in the Master Services Agreement.”)).



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no one would think could be liable for conspiracy with the Manufacturers, even if the messages

they transmitted turned out to be misleading.

         Moreover, as Dr. Perri acknowledged, these messages transmitted by Distributors

“focused generally on price, availability, and other features of interest to pharmacy and other

buyers,” not on the risks or benefits of opioid medications.31 To the extent these messages

included “drug information” at all, it was limited to information drawn from the FDA-approved

labeling, which Plaintiffs do not fault.32

         Dr. Perri opines in a conclusory manner that Distributors were involved in marketing

simply because distribution “was integral” to the “supply chain” of opioids (and every other

drug).33 But he admitted that distributing needed medications is an “essential service”; that

Distributors “do not generate patient level demand;” and that he has no opinion on whether any

Distributor acted wrongfully in distributing opioid medications.34 On these facts, the law

precludes liability for civil conspiracy—simply placing a product in the chain of distribution is

not evidence of joining in Manufacturers’ alleged scheme to mislead the world about the risks of

opioids. See Masepohl v. Am. Tobacco Co., Inc., 974 F. Supp. 1245, 1251 (D. Minn. 1997)

(holding that conspiracy claim against distributors of cigarettes failed because “[t]he

Distributors’ act of placing cigarettes in the chain of distribution cannot possibly be part of an

alleged agreement to suppress scientific information regarding the dangers of cigarette

smoking[.]” (internal quotation marks omitted)).


31
     See Ex. III.5 (Perri Rep.) ¶ 185.
32
     See Ex. III.5 (Perri Rep.) ¶ 184 n.372 (referring to “information on dosing, kinetics, safety information and
     patient counseling”).
33
     Ex. III.5 (Perri Rep.) ¶ 184. Even assuming that Distributors had an interest in increasing opioid sales in
     particular (as opposed to overall sales)—an assumption unsupported by record evidence—selling more of any
     product is not an illegal objective, and a wholesale distributor’s interest in doing so does not mean that it has
     conspired with the manufacturer.
34
     Ex. I.13 (Perri Tr.) at 212:4–9; 224:19–20; 211:15-21 (“[I]s it right or wrong for a wholesaler to … sell opioids?
     You know, that wasn’t … part of the analysis.”).



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       Moreover, after extensive discovery, Plaintiffs have failed to find any evidence that

Distributors knowingly agreed to participate in Manufacturers’ alleged fraud, as is required to

establish civil conspiracy. See, e.g., Williams, 700 N.E.2d at 868. According to Plaintiffs,

Manufacturers concealed their alleged fraud from the broader medical community—including

doctors, pharmacies, accrediting agencies, PBMs, and public and private insurers. While

Plaintiffs’ theory is that Distributors, unlike those other groups, knew of Manufacturers’ fraud,

no evidence supports that contention, and it makes no logical sense. The alleged scheme plainly

did not require participation by Distributors in order to work—unlike doctors, PBMs and

insurance companies, wholesale distributors do not make judgments about medical necessity or

whether to pay for any given treatment.

       The Ohio Court of Appeals’ decision in FV1 Inc. v. Goodspeed illustrates the high degree

of proof required to make out a knowing agreement for purposes of civil conspiracy. In that

case, purchasers of a house sued a mortgage broker who had permitted the seller of the house, a

friend of the broker, to perform the appraisal, despite knowing that the seller was on a list of

“unapproved” appraisers and had been denied permission to sit for the appraisers exam due to

dishonesty. 974 N.E.2d 664, 677 (Ohio Ct. App. 2012). The mortgage broker also entrusted the

mortgage-loan documentation process to the seller, contrary to the governing rules. Ultimately,

the seller produced a grossly inflated appraisal and reported false information in the loan

documentation. Although the court recognized that the broker’s conduct “could be considered

negligent or a breach of fiduciary duty,” it held that these facts constituted “neither evidence of

malice on the part of [the broker], nor evidence that [the broker] had knowledge of [the seller’s]

fraudulent acts.” Id. And because there was “no evidence that [the broker] formed an agreement

or understanding”—tacit or otherwise—“with [the seller] to harm the [buyers],” the civil

conspiracy claim failed. Id.; see also Aetna Cas. & Sur. Co. v. Leahey Const. Co., Inc., 219 F.3d




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519, 538 (6th Cir. 2000) (reversing civil conspiracy judgment; “the degree of involvement

required for civil conspiracy is higher than that for civil aiding and abetting,” because

“conspiracy focuses on whether the defendant agreed to join in the wrongful conduct” (internal

quotation marks omitted)).

          The same conclusion applies here, where the alleged misconduct by Distributors is far

more attenuated than in Goodspeed or Aetna. As set forth above, there is no evidence that

Distributors made any misrepresentations regarding the risks or benefits of opioid medications.

Nor is there any evidence that any Distributor knew that any of the Manufacturer-created

messages they may have delivered were misleading or that any Distributor maliciously agreed

with Manufacturers to perpetrate a fraud.
IV.       THERE IS NO EVIDENCE THAT DISTRIBUTORS CONSPIRED NOT TO
          REPORT SUSPICIOUS ORDERS.
          The Complaints also allege that Distributors entered into a conspiracy not to report

suspicious orders. This theory of conspiracy liability apparently encompasses an alleged

agreement that each Distributor would not report suspicious orders it received, as well as an

alleged agreement not to report suspicious orders received by other distributors.35 As to the first

supposed agreement, there is no evidence that any Distributor entered into any such agreement.

As to the second, not only does it lack any evidentiary basis, but Distributors had no information

about other distributors’ orders on which to base a report in the first place, let alone any legal

duty to make reports about other distributors.




35
      Cuyahoga TAC ¶¶ 534, 1173; Summit Compl. ¶¶ 551, 1131. To the extent Plaintiffs purport to allege that
      Distributors conspired with Manufacturers not to report suspicious orders (which is not clearly alleged in the
      Complaints), that theory would fail for the same lack of evidence discussed in the text.



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         A.       The Claims Relating to a Conspiracy Not To Report Distributors’ Own
                  Orders Fail for Lack of Evidence.
         There is no triable issue of fact with respect to Plaintiffs’ allegation that each Distributor

agreed not to report suspicious orders it received. No direct evidence of such an agreement

exists, and any purported circumstantial evidence falls far short.

         In discovery, Plaintiffs’ identified a single email, written by a McKesson employee in

2013, reporting a dinner conversation and attributing to a Cardinal employee a statement that

“Cardinal is not reporting suspicious orders to DEA.”36 The author of the email has testified

under oath that he was mistaken.37 The statement in the email is demonstrably inaccurate:

Cardinal reported thousands of suspicious orders in the quarter in which the conversation took

place, and even more in the subsequent quarter and for the year 2013.38 But even if the email

was accurate—and it was not—there is still nothing indicating an agreement among

Distributors.

         Far from being evidence of an agreement, this email shows the opposite. As to the period

before the 2013 conversation, the email proves there was no conspiracy, since the Cardinal

employee’s purported statement was a “surprising revelation” to McKesson;39 if Cardinal and

McKesson had been conspiring not to report orders, the alleged statement would not have been

surprising at all. And, as to 2013 forward, the email did not report that the Cardinal employee

asked McKesson not to report orders, and the McKesson employee did not state that he agreed to

do so. Nor can Plaintiffs cite to any change in either company’s conduct following this

conversation: to the contrary, Plaintiffs’ own expert witnesses point to 2013 as the year when

36
     Ex. II.6 (MCKMDL0054341).
37
     Ex. I.7 (De Gutierrez-Mahoney Tr.) at 425:12-426:8.
38
     Documents produced in discovery, based on data from 39 states, show more than 9,000 reports by Cardinal in
     the first quarter of 2013 and more than 15,000 reports in the second quarter of 2013. The underlying
     information was produced at CAH_MDL_PRIORPROD_AG_0009297 -
     CAH_MDL_PRIORPROD_AG_0009335
39
     Ex. II.6 (MCKMDL0054341).



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Cardinal and McKesson began reporting suspicious orders to DEA.40 Under these

circumstances, the email does nothing to establish the existence of a conspiracy. See, e.g., In re

Text Messaging Antitrust Litig., 782 F.3d 867, 878 (7th Cir. 2015) (rejecting inference of price-

fixing conspiracy where meetings between competitors were not followed by “simultaneous or

near-simultaneous price increase”).

         Even assuming each Distributor failed to make required reports, that would at most

indicate independent and parallel conduct, not a conspiracy. Courts reject conspiracy allegations

when the circumstantial evidence is “equally consistent with independent conduct.” See, e.g.,

Hyland v. HomeServices of Am., Inc., 771 F.3d 310, 318–20 (6th Cir. 2014) (internal quotation

marks omitted) (affirming judgment dismissing price-fixing conspiracy claim). If each

defendant acts in a way that would be in its economic interest only if others agreed to do the

same, that may be evidence that they did not act independently but rather conspired with one

another. Id. But here, Plaintiffs themselves allege that Distributors had an incentive to refrain

from reporting suspicious orders, not because of some agreement, but because of “discounts and

rebates” purportedly offered by Manufacturers to sell more.41 Thus, assuming (for purposes of

this Motion only) that there was a failure to report by Distributors, the only legally viable

inference would be that each Distributor acted independently, not that they reached any

conspiratorial agreement.

         Plaintiffs’ attempt to manufacture circumstantial evidence by focusing on the

Distributors’ trade association, the Healthcare Distribution Alliance (“HDA” or “HDMA”)42 also

misses the mark. There is no evidence of any unlawful agreement reached through any HDA


40
     Ex. III.6 (Rafalski Rep.) at 51, 73.
41
     E.g., Cuyahoga TAC ¶ 512; Summit TAC ¶ 528. Plaintiffs misunderstand the operation of the “discounts and
     rebates,” but, whether or not they operate to encourage Distributors to sell more, that incentive always exists for
     every seller of every product.
42
     See, e.g., Cuyahoga TAC ¶ 529; Summit TAC ¶ 545.



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meeting, nor any other communication that suggests an agreement not to report suspicious

orders. The Complaints allege only vague and facially benign generalities about the HDA, such

that it “led to the formation of interpersonal relationships” among Defendants and provided

opportunities to “network one on one with manufacturer executives.”43 Those allegations—even

if proven—do not make out a conspiracy because they do not establish an agreement to

accomplish an unlawful objective. Nor do Plaintiffs’ experts point to any evidence of an

unlawful agreement. Dr. Egilman opines in conclusory terms that “HDMA was responsible for

sale of unapproved opioids,”44 but he cites nothing more than an email in which the trade

association passed on to members a clarification it had received from the DEA identifying

products that were prohibited from sale. That is not evidence of an agreement not to adhere to

that decree or any other legal requirement. Dr. Perri says nothing in his report about HDA and

cites only a few documents that show only protected lobbying or again demonstrate that

distributors offered to act as a conduit for manufacturers’ informational materials, which, as

discussed above, is not probative of any unlawful agreement.

         Much of Plaintiffs’ deposition questioning of HDA witnesses focused on the publication

(and subsequent withdrawal) of guidelines for suspicious-order monitoring programs. But

nothing about those facts bespeaks any sort of conspiratorial agreement. Agreeing (through

HDA) to adopt and publish compliance guidelines did not further any unlawful objective. Even

assuming that any Distributor failed to follow the guidelines (which were not mandatory), see

Summit Compl. ¶ 854, there still is no evidence of an agreement or of any unlawful objective.

To the extent Plaintiffs contend that Distributors intentionally misled the DEA through the

guidelines (see, e.g., id. at p. 182, alleging that Distributors “pretend[ed] to cooperate with law

enforcement”), that assertion would fail both for lack of evidence of such intent and because any

43
     See, e.g., Cuyahoga TAC ¶¶ 518-19; Summit Compl. ¶ 535-36.
44
     See Ex. III.1 (Egilman Rep.) B.100.



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alleged efforts to influence the DEA are covered by Noerr-Pennington immunity, as explained

above. See supra Part II.A.

         In short, the HDA evidence is legally insufficient to support a conspiracy claim. As the

Sixth Circuit has held, attendance at trade association meetings “should not weigh heavily in

favor of suspecting collusion.” In re Travel Agent Comm’n Antitrust Litig., 583 F.3d 896, 910–

11(6th Cir. 2009) (affirming dismissal of complaint) (citing Bell Atl. Corp. v. Twombly, 550 U.S.

544, 567 n.12 (2007)).45 This is not a novel concept: Almost one hundred years ago the Supreme

Court said that “[w]e do not conceive that the members of trade associations become …

conspirators merely because they gather and disseminate information … bearing on the business

in which they are engaged and make use of it in the management and control of their individual

businesses.” Maple Flooring Manu. Ass’n v. United States, 268 U.S. 563, 584 (1925); see also

N.A.A.C.P. v. Claiborne Hardware Co., 458 U.S. 886, 920 (1982) (holding that “[c]ivil liability

may not be imposed merely because an individual belonged to a group, some members of which

committed [wrongful] acts”).
         B.        The Claims Relating to a Conspiracy Not To Report Other Distributors’
                   Orders Fail for Lack of Evidence.
         Plaintiffs advance the bizarre and unsupported proposition that each Distributor was

required to report suspicious orders received by other Distributors from their customers, and that

all Distributors entered into a conspiracy not to do so. There is not a bit of evidence to support

this supposition. Moreover, as a matter of law, Distributors had no obligation to report


45
     See also We, Inc. v. City of Philadelphia, 174 F.3d 322, 329 (3d Cir. 1999) (“conspiracy liability cannot,
     consistent with the First Amendment, be imposed based upon mere association”) (citing N.A.A.C.P. v.
     Claiborne Hardware Co., 458 U.S. 886, 920 (1982)); Hanson v. Shell Oil Co., 541 F.2d 1352, 1359 (9th Cir.
     1976) (“[E]vidence of [trade association] meetings alone is not sufficient; there also must be evidence
     sufficient to permit the jury to infer illegal agreement.”); In re Asbestos Sch. Litig., 46 F.3d 1284, 1287 (3d Cir.
     1994) (rejecting argument defendants membership in a trade organization that allegedly disseminated
     misleading information about asbestos meant that the defendant should be considered part of the civil
     conspiracy and thus liable); see also id. (“A member of a trade group or other similar organization does not
     necessarily endorse everything done by that organization or its members.”).



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suspicious orders they did not themselves receive. Nothing in either the CSA or the DEA’s

regulations even suggests such an obligation. The DEA itself agrees there is no such duty:
         Q.       The CSA does not require distributors to report the suspicious orders of
                  other distributors, does it?
         A.       Correct.
         …
         Q.       Now, similarly, the regulations do not require distributors
         to report suspicious orders of other distributors, correct?
         A.       Correct.46
         As a practical matter, a Distributor does not have the ability to monitor the orders that a

pharmacy or other customer places with a competitor, let alone to monitor the orders placed by

any party that is not the distributor’s customer. In some instances, customers permitted a

distributor to have access—either periodically or monthly—to information indicating the volume

of products they dispense. But dispensing data shows only the volume of products dispensed to

consumers; it does not provide a Distributor the “size,” “pattern,” or “frequency” of particular

orders placed by a buyer with another distributor. 21 C.F.R. § 1301.74(b). And even if a

Distributor had access to product volume received by a pharmacy from another distributor(s),

there is no evidence that the first distributor would see specific orders; would know if the other

distributor(s) had reported any orders as suspicious; would know if the other distributor(s) had

held or declined to fill any orders; or would know the identities of prescribing doctors or other

contextual information bearing on whether any order is suspicious. There is simply no way a

Distributor could report anything to the DEA about other distributors’ orders.

         At bottom, Plaintiffs seek to bootstrap their allegation that Distributors did not report

each other’s allegedly suspicious orders into an inference that they agreed not to report each

other’s orders. But as the Sixth Circuit has made clear, even where (unlike here) failure to report


46
     Ex. I.14 (Prevoznik Tr.) at 261:1–4, 10–14.



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another person’s wrongdoing is itself unlawful, that failure does not amount to proof of a

conspiracy. See Castaneda De Esper v. Immig. & Nat. Serv., 557 F.2d 79, 84 (6th Cir. 1977)

(“Misprision is not conspiracy.”). Here, too, the absence of evidence of an agreement is fatal to

Plaintiffs’ conspiracy claim.
                                            CONCLUSION
       For the reasons stated above, the Court should grant summary judgment dismissing the

conspiracy claims as to the Distributors.




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Dated:    June 17, 2019                      Respectfully Submitted,



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                            LOCAL RULE 7.1(F) CERTIFICATION
       Pursuant to the Court’s Order Regarding Pretrial Motions for “Track One” Trial, ECF #

1653, Defendants have 60 pages collectively for joint summary judgment motions regarding

conspiracy. This brief adheres to the limits set forth in that order, as it totals 20 pages.


                                                       /s/ Ashley W. Hardin__________
                                                       Ashley W. Hardin




                                  CERTIFICATE OF SERVICE
       I, Ashley W. Hardin, hereby certify that the foregoing document as served via the Court’s

ECF system to all counsel of record.


                                                       /s/ Ashley W. Hardin_________
                                                       Ashley W. Hardin
